106 F.3d 390
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Patricia Ann FOWLER, Petitioner-Appellant,v.Parker EVATT;  Attorney General of the State of SouthCarolina, Respondents-Appellees.
    No. 96-6697.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1997.Decided Jan. 21, 1997.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  C. Weston Houck, Chief District Judge.  (CA-94-2807-3-2BC)
      Patricia Ann Fowler, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Charles Molony Condon, OFFICE OF THE ATTORNEY GENERAL OF SOUTH CAROLINA, Columbia, South Carolina, for Appellees.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on her petition filed under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  Fowler v. Evatt, No. CA-94-2807-3-2BC (D.S.C. Apr. 3, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    